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ATTORNEYS FOR CLO HOLDCO, LTD.

                          THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                   §
IN RE:                                             § CHAPTER 11
                                                   §
HIGHLAND CAPITAL MANAGEMENT,                       § CASE NO. 19-34054-SGJ
L.P.,                                              §
                                                   §
         DEBTOR.                                   §
                                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.                  §
                                                   §
         PLAINTIFF,                                § Adversary Proceeding
                                                   §
VS.                                                § No. 21-03000-SGJ
                                                   §
HIGHLAND CAPITAL MANAGEMENT FUND                   §
ADVISORS, L.P.; NEXPOINT ADVISORS, L.P.;           §
HIGHLAND INCOME FUND; NEXPOINT                     §
STRATEGIC       OPPORTUNITIES    FUND;             §
NEXPOINT CAPITAL, INC.; AND CLO                    §
HOLDCO, LTD.                                       §
                                                   §
         DEFENDANTS.                               §


                                     WITNESS AND EXHIBIT LIST



         COMES NOW, CLO Holdco, Ltd. ("CLO Holdco"), a creditor and party-in-interest in this

case, and files this Witness and Exhibit List for the Debtor's temporary restraining order hearing




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scheduled on Wednesday, January 13, 2021, at 9:30 a.m. CST (the "Hearing") in the above-

captioned chapter 11 bankruptcy case before the Honorable Stacey G. Jernigan.


                                               WITNESSES

         CLO Holdco may call any of the following witnesses at the Hearing, in person or by proffer:

         1.       Grant J. Scott, Trustee, CLO Holdco, Ltd.

         2.       Any witness called or designated by any other party.

         3.       Any impeachment or rebuttal witnesses.

                                                EXHIBITS

         CLO Holdco may offer into evidence one or more of the following exhibits at the Hearing:

EXHIBIT       DESCRIPTION OF EXHIBIT                                 OFFERED    OBJECTION         ADMITTED
   1.         Notice of (I) Executory Contracts and Unexpired
              Leases to be Assumed by the Debtor Pursuant to
              the Fifth Amended Plan, (II) Cure Amounts, if any,
              and (III) Related Procedures in Connection
              Therewith [Dkt. No. 1648] filed December 30,
              2020.

   2.         Exhibits listed on Plaintiff's Witness and Exhibit
              List [Adv. Dkt. No. 13]

   3.         Letter from Defendants' attorneys to Debtor's
              attorneys dated December 22, 2020

   4.         Letter from Defendants' attorneys to Debtor's
              attorneys dated December 23, 2020

   5.         Letter from Debtor's attorneys to Defendants'
              attorneys in response to December 22, 2020 Letter

   6.         Letter from Debtor's attorneys to Defendants'
              attorneys in response to December 23, 2020 Letter

   7.         Letter from Defendants' attorneys to Debtor's
              attorneys dated December 28, 2020 Clarifying
              Defendants' positions

   8.         CLO Holdco Organizational Chart



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EXHIBIT     DESCRIPTION OF EXHIBIT                                 OFFERED      OBJECTION         ADMITTED
   9.       CLO Holdco / DAF / HCLOF Organizational
            Chart

   10.      Declaration of Grant Scott in Opposition to TRO
            [Adv. Dkt. No. ___]

   11.      CLO Holdco, Ltd. Debtor Managed CLO NAV
            Statements

   12.      Second Amended and Restated Service Agreement
            – DAF/CLO Holdco

   13.      Second Amended and Restated Advisory
            Agreement – DAF/CLO Holdco

   14.      Debtor's Notice of Termination of Service
            Agreement

   15.      Debtor's Notice of Termination of Advisory
            Agreement

   16.      Exhibits Listed on any other Defendants' Witness
            and Exhibit List




         CLO reserves the right to: (i) use any exhibits presented by any other party; (ii) use any

exhibits not listed herein for impeachment and rebuttal purposes; (iii) limit any exhibits to redacted

form; and (iv) supplement and/or amend this Witness and Exhibit List at any time prior to the

Hearing.




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DATED: January 10, 2021                        Respectfully submitted,

                                               KANE RUSSELL COLEMAN LOGAN PC


                                               By:     /s/John J. Kane
                                                       Joseph M. Coleman
                                                       State Bar No. 0456610
                                                       John J. Kane
                                                       State Bar No. 24066794

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                                               ATTORNEYS FOR CLO HOLDCO, LTD.


                                      CERTIFICATE OF SERVICE

        I hereby certify that on January 10, 2021, a true and correct copy of the foregoing Witness and
Exhibit List was served via the Court's electronic case filing (ECF) system upon all parties receiving
such service in this bankruptcy case. Copies of CLO Holdco's proposed Exhibits were provided to
the Court, counsel for the Debtor, and counsel for the other Defendants.


                                                       /s/ John J. Kane
                                                       John J. Kane




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